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 4
 5                              UNITED STATES DISTRICT COURT
 6                           CENTRAL DISTRICT OF CALIFORNIA
 7                                      SOUTHERN DIVISION
 8
      ATEN INTERNATIONAL CO., LTD,               )
 9                                               )     CASE NO. 2:15-cv-04424-AG-AJW
                           Plaintiff,            )
10                                               )     CIVIL JURY SELECTION
                           v.                    )     PROCEDURES
11
                                                 )
12    UNICLASS TECHNOLOGY CO.,                   )
      LTD., ET AL.,                              )
13                                               )
                           Defendants.           )
14                                               )
15                                               )

16
17
            The Court orders that the jury be selected using the method in Exhibit A, subject to
18
     changes as necessary. There will be an eight person jury, with the entire jury deliberating.
19
     Each side will have three peremptory challenges. 28 U.S.C. §1870. F.R.C.P. 47(b), 48.
20
21
              June 13, 2017
     Dated: __________________
22
                                           _______________________________
23                                         ANDREW J. GUILFORD
24
                                           UNITED STATES DISTRICT JUDGE

25
     Courtroom Deputy Clerk:
26   Lisa Bredahl
     (714) 338-4757
27
28

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 1                                            EXHIBIT A
 2                          ARIZONA BLIND STRIKE METHOD (CIVIL)
 3
 4          1.       The entire panel will be seated, generally as in Exhibit 1.
 5          2.       The entire panel will be asked if they recognize any parties, counsel,
 6   witnesses, or court staff. The Court will discuss calendar and hardship issues with the
 7   entire panel.
 8          3.       Voir Dire. Each member of the entire panel will answer questions from the
 9   sheet attached as Exhibit 2. The Court will conduct voir dire of the entire panel, generally
10   following the outline attached as Exhibit 3, and possibly using voir dire questions
11   provided by counsel. Each side may then spend a brief time conducting voir dire of the
12   entire panel. The time allotted will depend in part on whether counsel focuses on bias,
13   and not seek to indoctrinate, inculcate, influence, insinuate, inform, or ingratiate. Mixed
14   Chicks LLC v. Sally Beauty Supply LLC, 879 F. Supp. 2d 1093, 1094 (2012).
15          4.       Hardships. At some point before challenges for cause and peremptory
16   challenges, the Court will rule on hardships. Panel members found to have sufficient
17   hardship ideally will all be thanked and excused at the same time.
18          5.       Challenges. Outside the jury’s presence, the Court will hear and rule on
19   challenges for cause. Each side will then submit six proposed written peremptory
20   challenges on the sheet attached as Exhibit 4. Six proposed peremptory challenges are
21   listed for each side to determine the three actual peremptory challenges after adjustments
22   for possible duplicates as follows. Each side will get their first three peremptory
23   challenges as listed by going back and forth from plaintiff’s list to defendant’s list in the
24   order specified, not counting a peremptory challenge if it follows a previous duplicate
25   from the other list.
26
27
28

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 1          6.     Seating the Jury. After removals from the panel for hardship, challenges for
 2   cause, and peremptory challenges, the first eight remaining jurors with the lowest original
 3   numbers are placed in the box and all remaining jury panel members are thanked and
 4   excused.
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                                          Exhibit 1



                36.        35.   34.     33.          32.      31.       30.        29.




                28.        27.   26.     25.          24.      23.       22.        21.




                                 20.     19.          18.      17.       16.        15.




      14.             7.



      13.             6.                       PEREMPTORY CHALLENGES – CIVIL

                                               Pltf(s):______ ______ _______

      12.             5.                       Dfts(s):______ ______ _______




      11.             4.                       PEREMPTORY CHALLENGES – CRIMINAL

                                               Govt: _____ ______ ______ _____

                                                      _____ ______
      10.             3.
                                               Dfts(s):_____ ______ ______ _____

                                                      _____ ______ _______ ______
      9.              2.
                                                      _____ ______


      8.              1.




            [JURY BOX]
                                                                 [BENCH]

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                                     Exhibit 2
 1
 2
           PROSPECTIVE JURORS, PLEASE STATE THE FOLLOWING
 3
 4
     1.    YOUR NAME AND THE TOWN OR CITY WHERE YOU RESIDE
 5
     2.    YOUR OCCUPATION AND EMPLOYER (IF YOU ARE RETIRED,
 6         PLEASE STATE YOUR FORMER OCCUPATION AND EMPLOYER)
           AND STATE:
 7
           --   THE NATURE OF YOUR WORK
 8
           --   HOW LONG DOING THAT WORK
 9
     3.    YOUR MARITAL STATUS
10
     4.    IF APPLICABLE, YOUR SPOUSE’S OCCUPATION AND EMPLOYER
11         (IF YOUR SPOUSE IS RETIRED, PLEASE STATE HIS OR HER
           FORMER OCCUPATION AND EMPLOYER) AND STATE:
12
           --   THE NATURE OF THAT WORK
13
           --   HOW LONG DOING THAT WORK
14
     5.    IF APPLICABLE, YOUR FORMER SPOUSE’S OCCUPATION AND
15         EMPLOYER
16   6.    YOUR EDUCATIONAL BACKGROUND (grade school, high school,
           etc.);
17
           --   FOR ANY VOCATIONAL SCHOOLS ATTENDED, WHAT WAS
18              STUDIED?
19         --   FOR COLLEGE OR BEYOND, WHAT WERE YOUR DEGREE
                SUBJECTS?
20
     7.    WHETHER YOU OR YOUR SPOUSE EVER SERVED IN THE
21         MILITARY AND IF SO, THE BRANCH AND HIGHEST RANK
           REACHED
22
     8.    THE NUMBER OF CHILDREN YOU HAVE AND THEIR AGES
23
     9.    THE OCCUPATION AND EMPLOYER OF YOUR ADULT CHILDREN
24
     10.   WHETHER YOU HAVE EVER BEFORE SERVED ON A JURY AND IF
25         SO
26         --   CRIMINAL OR CIVIL, AND WHAT KIND OF CASE?
27         --   DID THE JURY COME TO A VERDICT? (Yes or No; not outcome)
28


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 1                                              Exhibit 3
 2                           JURY SELECTION PROCEDURES (CIVIL)
 3   Preliminaries
 4   1.    Judge welcomes the jury.
 5   2.    Judge reads brief joint statement about the case, or counsel for each side gives
           brief statement (not argument describing the case).
 6
     3.    Judge describes purpose of jury questioning:
 7
           -         to determine if should be excused for cause.
 8         -         to permit parties to have jury of their selection – excuse certain number of
                     jurors without stating a reason.
 9
     4.    [Jury sworn.]
10
     5.    Expected duration.
11
     6.    Counsel introduce selves and clients. Judge and staff introduced.
12
     7.    Witness list read
13
14   Voir Dire
15   8.    Panel members introduce selves, using card.
16   9.    Heard or read anything about case?
17   10.   General.
           -     Burden of proof: criminal (beyond reasonable doubt) v. civil
18               (preponderance of evidence).
           -     Verdict solely on evidence presented.
19         -     Instructions on law only from court – even if disagree.
20   11.   Is there any reason, or anything you can think of, that would make it difficult for
           you to decide this case fairly and impartially?
21
     12.   Have you or has anyone in your immediate family ever participated in a lawsuit as
22         a party or in any other capacity?
23
     13.   Is there anything about this kind of lawsuit for money damages that would tend to
24         make you lean for or against a particular party?
25   14.   Do any of you own stock in the [plaintiff or defendant] company?
26   15.   Are any of you employees of the [plaintiff or defendant] company?
27   16.   Do any of you use or own products made or sold by [plaintiff or defendant]
           company?
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                                       Exhibit 3 (continued)
 1
                          JURY SELECTION PROCEDURES (CIVIL)
 2
 3   17.   Are any of you employed by, or stockholders in, any insurance company that is
           engaged in the casualty insurance business?
 4
     18.   Are any of you engaged in the general insurance agency business, or are any of you
 5         an agent for a casualty insurance company?
 6   19.   Have any of you ever worked as a claims investigator or insurance adjuster?
 7
 8   [POSSIBLE QUESTIONS SUBMITTED BY COUNSEL]
 9   21.   Is there any reason, or anything you can think of, that would make it difficult for
           you to decide this case fairly and impartially?
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 1                                      Exhibit 4
 2
                        UNITED STATES DISTRICT COURT
 3                     CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION
 4
                           PEREMPTORY CHALLENGES
 5
                                          Civil
 6
                              (Write Seat No. And Name
 7                              of Challenged Juror)
 8
 9               PLAINTIFF                               DEFENDANT

10
     1. _____________________________        1. ____________________________
     2. ____________________________         2. ____________________________
11
     3._____________________________         3.____________________________
12
13                           IN CASE OF DUPLICATES
14
     4. ____________________________         4. ____________________________
15
     5. ____________________________         5. ____________________________
16
     6. ____________________________         6. ____________________________
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